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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
UNITED STATES OF AMERICA,            )
                                     )
      v.                             )
                                     ) Crim. Action No. 21-0291-2 (ABJ)
ALBUQUERQUE COSPER HEAD,             )
                                     )
                  Defendant.         )
____________________________________)


                                            ORDER

       Pending before the Court is an application by members of the press seeking access to videos
in this criminal matter. Application for Access to Video Exs. [Dkt. # 67] (“Application”).
Specifically, the applicants request two videos related to defendant number two in this case,
Albuquerque Cosper Head. See id. On April 28, 2021, the government requested pretrial detention
for defendant Head and filed a brief in support of that request. Gov’t Mem. in Supp. of Pre-Trial
Detention, United States v. Head, 21-cr-0291-2 [Dkt. # 32] (“Gov’t Pre-Trial Mem.”). The
government’s memo referenced two videos, which are the subject of the instant application. See
Govt’s Pre-Trial Mem. at 11, 22; Application at 2. The Court ordered the parties in the criminal
matter to advise whether they object to the release of the requested videos and the basis for any
objections. Min. Order (Sept. 21, 2021).
       The government agrees to the release of the videos, which it states were “submitted to the
Court in anticipation of the Court’s decision on detention, and . . . were not subject to a sealing
order.” Gov’t Resp. [Dkt. # 74] at 2. Defendant Head, who is the subject of the application and
these videos, takes no position on the motion. Def. Head’s Resp. [Dkt. # 73] at 2. His
co-defendants, Young and Sibick, “object to the release of the short video clips and still photo,
because they lack context and present a misleading image of culpability compared with longer
video clips, played in real time, of the same events.” Def. Young’s Reply [Dkt. # 72] at 1; Def.
Sibick’s Resp. [Dkt. # 76] at 1 (adopting Young’s response). As defendant Young explains, the
“objection is not to the release of videos showing the alleged acts” but to the release of “the




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narrowly-sliced and slowed-down version of a broader, more chaotic scene” in advance of trial,
which he asserts could unduly prejudice him. Def. Young’s Reply at 1.
       As the D.C. Circuit has held, “[t]he common-law right of public access to judicial records
‘is a fundamental element of the rule of law, important to maintaining the integrity and legitimacy
of an independent Judicial Branch.’” In re Leopold to Unseal Certain Elec. Surveillance
Applications & Orders, 964 F.3d 1121, 1127 (D.C. Cir. 2020), quoting MetLife, Inc. v. Fin.
Stability Oversight Council, 865 F.3d 661, 663 (D.C. Cir. 2017). Although “not all documents
filed with courts are judicial records,” id. at 1128, quoting SEC v. Am. Int’l Grp., 712 F.3d 1, 3
(D.C. Cir. 2013), documents and other materials filed in court “intended to influence the court”
are judicial records. Id.; MetLife, 865 F.3d at 668 (holding that appellate briefs and appendices
are judicial records because they are “intended to influence” the court and the court “ma[kes]
decisions about them”). There is a strong presumption that the public has a right to access judicial
records, 964 F.3d at 1127–28, and applicants here assert that the parties cannot rebut that
presumption as to these videos. Application at 2–3, citing id. and United States v. Hubbard,
650 F.2d 293, 317–21 (D.C. Cir. 1980).
       In considering whether judicial records may be made public, courts weigh the following
six factors: (1) the need for public access to the documents at issue; (2) the extent of previous
public access to the documents; (3) the fact that someone has objected to disclosure, and the
identity of that person; (4) the strength of any property and privacy interests asserted; (5) the
possibility of prejudice to those opposing disclosure; and (6) the purposes for which the documents
were introduced during the judicial proceedings. MetLife, 865 F.3d at 665 (applying the Hubbard
test). Judicial records may remain sealed “only ‘if the district court, after considering the relevant
facts and circumstances of the particular case, and after weighing the interests advanced by the
parties in light of the public interest and the duty of the courts, concludes that justice so
requires.’” Id. at 665–66, quoting In re Nat’l Broad. Co., 653 F.2d 609, 613 (D.C. Cir. 1981).
       There is no dispute that the two videos are judicial records. They were provided to the
court to influence the decision of whether to detain defendant Head pretrial. See Gov’t Pre-Trial




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Mem. at 11, 22. 1 Further, no defendant contests the significant public and media interest in this
and other criminal matters arising from the January 6, 2021 breach of the United States Capitol.
See Def. Head’s Resp.; Def. Young’s Reply; Def. Sibick’s Resp.; Standing Order 21-28, In re:
Media Access to Video Exhibits in Pretrial Capitol Cases at 2. The only argument against their
release is defendant’s Young’s contention that “the release of the short video clips and still photo
. . . lack context and present a misleading image of culpability compared with longer video clips,
played in real time, of the same events.” Def. Young’s Reply at 1. His “objection is not to the
release of videos showing the alleged acts” but “to the narrowly-sliced and slowed-down version
of a broader, more chaotic scene. To release only the Government’s selected portion in advance
of trial could serve to unduly prejudice Defendant.” Id. (stating there is no objection to the release
of a longer video clip offered in real time speed).
       But the two requested videos are not slowed-down versions; they are in real time. 2 To the
extent any defendant in this matter seeks to present the Court or a jury with a longer version of
either video at future proceedings, this order does not prejudice such a request. Indeed, the Court
reviewed and considered longer video clips presented by the defense in a September 28, 2021
hearing involving co-defendant Sibick. To the extent the objecting co-defendants have used the
term prejudice to express a concern about tainting the jury pool in the future, that concern is
premature since no trial date has been set, and it is unclear whether the videos will be viewed by
potential jurors in this jurisdiction. More importantly, the jurors’ exposure to pre-trial publicity
and any potential bias for or against the individual defendants and alleged victim will be fully
explored through the voir dire process.
         For these reasons, and upon consideration of the videos, the argument of the applicants
and the parties in the criminal case, and the applicable law, the Application is hereby GRANTED.




1       Defendant Head asserts that “it would appear that the videos sought are the same videos
this Court previously ordered denied in its Minute Entry from July 6, 2021 because the videos . . .
had not been previously provided to the Court.” Def. Head’s Resp. at 2. But unlike the videos
denied release in July, the government did provide the videos at issue here to the court to influence
its decision-making. Gov’t Resp. at 2.

2     Also, there is no still photo in either video exhibit, so it is unclear what photo defendant
Young is referring to in his response.

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The government is ORDERED to make the two videos promptly available without restrictions by
providing access using the “drop box” technical solution described in Standing Order 21-28.
       SO ORDERED.




                                            AMY BERMAN JACKSON
                                            United States District Judge

DATE: October 13, 2021




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